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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


  Civil Action No.: 1:21-cv-02230-NYW-SP

  STEVEN STRAUGHEN

         Plaintiff
  v.
  BHS, INC. a/k/a BHS, INC. OF WYOMING

         Defendant


   BHS, INC. A/K/A BHS, INC. OF WYOMING’S RESPONSE TO PLAINTIFF’S MOTION
  AGAINST MODIFYING THE JUDGMENT BASED ON COLORADO’S NONECONOMIC
                                  DAMAGES CAP


         Defendant, BHS, Inc. a/k/a BHS, Inc. of Wyoming (“BHS”), through its attorneys,

  McConaughy & Sarkissian, P.C., hereby responds to Plaintiff’s Motion Against Modifying the

  Judgment Based on Colorado’s Noneconomic Damages Cap [ECF 202].

                                         INTRODUCTION

         Plaintiff’s Motion should be denied because he incorrectly asserted C.R.S. § 13-21-102.5

  must be pleaded as an affirmative defense lest it be waived by the defendant, and relied on

  inapplicable and uncontrolling case law to do so. This requirement does not exist and is nether

  included in Fed. R. Civ. P. 8 as an affirmative defense, nor is such a pleading requirement included

  in the statutory language itself. Instead, reduction to a noneconomic damages award occurs by

  operation of law because the statute’s plain language “limits ‘the monetary amount to which the

  plaintiff is entitled.’” Alhilo v. Kliem, 412 P.3d 902, 915 (Colo. App. 2016) (original emphasis

  omitted). Moreover, the statute requires the Court to impose the limit, rather than requiring the
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  defendant to raise the same. See C.R.S. § 13-21-102.5(4). Plaintiff also incorrectly argued that BHS

  “affirmatively ask[ed] the jury to award millions of dollars in noneconomic damages” [ECF 202 at

  pp. 1-2], thus waiving any right to the cap. In fact, Plaintiff asked the jury to award “not a penny more

  than the million dollars” while BHS did not suggest a number at all, instead telling jurors it was for

  them to decide. Ex. A, Trial Transcript, Feb. 15, 2024, 34:14-15, 17; 56:11-16. BHS never took an

  action to affirmatively waive the statutory limitation and Plaintiff tried the case with the understanding

  the cap applied. As discussed below, because the statutory cap is mandatory and applies

  automatically, and because BHS has not waived the application of the cap, the Court should deny

  Plaintiff’s Motion and impose the cap on noneconomic damages as required by Colorado law.

                                          LEGAL STANDARD

          Plaintiff brought suit in the District of Colorado under diversity jurisdiction. [Pl. Compl.,

  ECF 1]. As such, the Court must apply Colorado law to substantive issues. Boyd Rosene & Assocs.,

  Inc. v. Kan. Mun. Gas Agency, 123 F.3d 1351, 1352-53 (10th Cir. 1997). Damages caps are a matter

  of state substantive law and the parties are, therefore, bound by Colorado law; in this case, C.R.S. §

  13-21-102.5. See Racher v. Westlake Nursing Home Ltd. P’ship, 871 F.3d 1152, 1162 (10th Cir.

  2017). Courts must interpret statutes based on their plain language, giving effect to each word, and

  applying common meaning to words to avoid strained interpretations and adhere to the intended effect

  of the law. Lira v. Davis, 832 P.2d 240, 245 (Colo. 1992).

                                               ARGUMENT

  I.      THE COLORADO STATUTORY CAP ON NONECONOMIC DAMAGES IS
          MANDATORY, NOT AN AFFIRMATIVE DEFENSE

          Plaintiff requests the Court ignore the mandatory language of C.R.S. § 13-21-102.5 and

  instead award 97% more in noneconomic damages than allowed by Colorado law. There is no basis

  for this contention in Colorado jurisprudence. Plaintiff’s reliance primarily on a Tenth Circuit case



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  interpreting and applying Oklahoma state law is also misplaced because the case is not binding on

  this Court, and the Oklahoma statute is distinguishable from the one in Colorado. Rather, Colorado

  law and the language of C.R.S. § 13-21-102.5 itself indicate it applies automatically, not as an

  affirmative defense that must be proved.

           Plaintiff’s contention that BHS is not entitled to the mandatory and automatic reduction in

  noneconomic damages because it was not pleaded as an affirmative defense, it “failed to raise its

  intent to rely on the cap,” or it did not include it as an affirmative defense as “Defendants almost

  always” do is insufficient to support his position or require the Court to violate the clear intent of the

  legislature. [ECF 202, Pl. Mot. at 1]. Section 13-21-102.5 of the Colorado Revised Statutes states:

           (1) The general assembly finds, determines, and declares that awards in civil actions
           for noneconomic losses or injuries often unduly burden the economic, commercial,
           and personal welfare of persons in this state; therefore, for the protection of the public
           peace, health, and welfare, the general assembly enacts this section placing monetary
           limitations on such damages for noneconomic losses or injuries.

            ...

           (3) (a) In any civil action other than medical malpractice actions in which damages
           for noneconomic loss or injury may be awarded, the total of such damages shall not
           exceed the sum of two hundred fifty thousand dollars1, unless the court finds
           justification by clear and convincing evidence therefor. In no case shall the amount of
           noneconomic loss or injury damages exceed five hundred thousand dollars.

  C.R.S. § 13-21-102.5 (emphasis added). The statute goes on to state that these limits “shall be imposed

  by the court before judgment.” C.R.S. § 13-21-102.5(4). The legislative “use of the word ‘shall’

  creates a presumption that a stated requirement is mandatory.” EZ Bldg. Components Mfg., LLC v.

  Indus. Claim Appeals Office, 74 P.3d 516, 518 (Colo. App. 2003).

           The plain language of the statute is unambiguous and clear. The state legislature intended to

  limit the noneconomic damages in judgments and required courts – not parties – to impose these


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   The statute permits these specific amounts to increase with inflation, as certified by the Colorado Secretary of State. The
  applicable limit for this case has increased from $250,000 to $468,010.


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  limits. While courts have discretion to double the allowable amount with appropriate evidence, even

  that increase is capped. “Colorado’s non-economic damages cap serves the purpose of protecting

  defendants – specifically, Colorado defendants – from excessive liability.” Sanders v. Polaris Indus.,

  Civil Action No. 21-cv-02055-NYW-MEH, 2023 U.S. Dist. LEXIS 84051, at *24 (D. Colo. May 12,

  2023) (citing Lanahan v. Chi Psi Fraternity, 175 P.3d 97, 101 (Colo. 2008)) (explaining that the cap

  serves to “protect individual defendants from excessive liability without unduly restricting plaintiffs’

  recoveries”).

         Under the operation of the statute, “[o]nce the amount of a plaintiff's recovery is determined,

  . . . the noneconomic damages cap in section 13-21-203 comes into play.” Alhilo, 412 P.3d at 915

  (citing Lanahan, 175 P.3d at 101 (stating “[s]ection 13-21-203 limits ‘the monetary amount to which

  the plaintiff is entitled’”)). Importantly, “the cap does not cause a plaintiff’s noneconomic damages

  to disappear – it merely limits a plaintiff’s recovery to a specified maximum amount.” Id. (citing

  McAdory v. Rogers, 215 Cal. App. 3d 1273 (Cal. Ct. App. 1989)) (“The statutory cap ‘does not cause

  those noneconomic damages . . . suffered in excess of $250,000 to vanish. Instead, that section merely

  reflects a legislative policy decision to bar the recovery of more than $250,000 of those damages’”).

         The same is true in this case. The jury was free to award as much or as little as it chose for

  noneconomic damages. Section 13-21-102.5, however, reflects the policy decision of the Colorado

  legislature to limit the ultimate judgment for noneconomic damages to (for this case) $468,010. The

  statute then requires the court to impose those limits. See C.R.S. § 13-21-102.5(4). This is automatic

  application, not an affirmative defense. Even here, this Court suggested that this cap should have an

  application in its February 16, 2024 Minute Order requesting the parties file a proposed judgment that

  includes “the effect of Colorado’s statutory cap damages for noneconomic loss” and cited C.R.S. §

  13-21-102.5(3)(a). See [ECF 200, February 16, 2024 Minute Order].




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          Contrary to Plaintiff’s claims, the Tenth Circuit case, Racher v. Westlake Nursing Home Ltd.

  Partnership, does not indicate that the cap for noneconomic damages required by Colorado law is an

  affirmative defense. In Racher, the Tenth Circuit reached the conclusion the Oklahoma statutory cap

  was an affirmative defense by interpreting the specific language of the Oklahoma statute and Fed. R.

  Civ. P. 8. See Racher, 871 F.3d at 1165-67. This interpretation does not apply to the Colorado

  statute because of the significant differences between the Oklahoma statute at issue in Racher and

  C.R.S. § 13-21-102.3 at issue here. Notably, the Oklahoma statute limits the amount of noneconomic

  damages a jury is allowed to award, but removes the cap in certain circumstances. See Okla. Stat. tit.

  23, § 61.2. It was the latter, “equally mandatory” but contradictory terms that removed this cap which

  the Racher court found compelling in holding that the statute was unclear and, therefore, did not apply

  automatically. Racher, 871 F.3d at 1167. In contrast, the Colorado statute does not limit the amount

  a jury can award, but directs the court to limit the amount of noneconomic damages to include in a

  final verdict. See C.R.S. § 13-21-102.5(4). This is to follow the legislature’s goal of “protection of the

  public peace, health, and welfare” by “placing monetary limitations on such damages for

  noneconomic losses or injuries.” C.R.S. § 13-21-102.5(1).

          While Plaintiff also urges the Court to look to C.R.C.P. 8 in support of his position that a

  mandatory reduction imposed automatically by law after a verdict is an affirmative defense, that

  position too is incorrect. The federal rules of procedure governed BHS’s answer. Fed. R. Civ. P. 8,

  unlike the Colorado equivalent, does not contain the requirement to plead “mitigating circumstances

  to reduce the amount of damage.” Compare Fed. R. Civ. P. 8(c) with C.R.C.P. 8(c). As a result, the

  Federal rule does not require pleading affirmative defenses that only reduce damages. Even if the

  Colorado rule applied, it only requires a defendant to affirmatively plead “mitigating circumstances




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  to reduce the amount of damage.” See C.R.C.P. 8(c) (emphasis added). The existence of a law with

  an automatic enforcement mechanism is not a mitigating circumstance that needs to be pleaded.

         Further, a defendant bears the burden of proving affirmative defenses at the trial. Safeway

  Stores 46 Inc. v. WY Plaza LC, 65 F4th 474, 490 (10th Cir. 2023). However, C.R.S. § 13-21-

  102.5(4) specifically states that its limitations “shall not be disclosed to a jury in any such action.”

  Because the limitation cannot be disclosed to the jury, it is not an affirmative defense that BHS

  could provide evidence to prove. Again, Colorado law indicates that this damages limitation is not

  an affirmative defense.

         Other Tenth Circuit decisions support Defendant’s position. For example, in Yapel v. Japel

  Trucking, LLC, the Court held that Kansas’s wrongful death damages cap was not an affirmative

  defense that must be raised by the defendant and was not waived despite not including it in the

  answer or Pretrial Order. Yaple v. Jakel Trucking LLC, No. 2:21-CV-02045-JAR, 2023 U.S. Dist.

  LEXIS 130363, at *5 (D. Kan. July 27, 2023). In ruling the wrongful death cap could not be

  waived, the Court relied on a prior Kansas Court of Appeals decision holding that Kansas’s statute

  limiting recovery of noneconomic damages did “not have to be pled in avoidance or as affirmative

  defenses.” Id. at *6. It bears noting that the Kansas statute limiting noneconomic damages has

  similar requirements to C.R.S. § 13-21-102.5, such as including “cannot exceed” language,

  requiring an itemization of the verdict to reflect the amount awarded for noneconomic loss, and

  prohibiting instructing the jury about the limitation. See KSA § 60-1903. In rejecting the plaintiff’s

  argument that failure to raise the damages cap in the final pretrial order constituted waiver, the

  Yapel court aptly commented that:

         The question of whether there is a statutory limit on noneconomic damages is not
         a merits issue for trial, nor is it a question of fact that the jury would have to decide.
         Therefore, including this issue in the Pretrial Order here would not have furthered
         the purpose of a pretrial order which is to “facilitate a trial on the merits.” Moreover,



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         because it is necessarily a posttrial issue, there was no risk of Plaintiff being
         surprised at trial that Defendant intended to assert this defense – the time to assert
         the defense is now, posttrial.

  Yaple, 2023 U.S. Dist. LEXIS 130363, at *6-7.

         The same holds true here. The application of Colorado’s noneconomic damages cap was

  not, and could not be, a trial issue or fact question for the jury to decide, and the fact it could not

  be discussed did not leave Plaintiff without notice it would ultimately apply. As discussed, section

  4 of C.R.S. § 13-21-102.5 states that the damages limitation “shall be imposed by the court before

  judgment.” C.R.S. § 13-21-102.5(4). Like Yapel noted, it is exclusively a post-trial issue to be

  raised now, after a verdict was returned. Thus, not only was BHS legally and functionally

  precluded from “proving” the cap as an affirmative defense even if asserted, the law requires the

  Court to automatically impose the reduction after trial and before entering judgment. The statute

  is simply not an affirmative defense that can be raised, argued, or waived, as this would be contrary

  to the legislative’s intent. Rather, its limitations are mandatory and apply automatically.

  II.    BHS DID NOT WAIVE THE APPLICATION OF THE NONECONOMIC
         DAMAGES CAP

         Next, despite Plaintiff’s claims, BHS did not waive the application of the noneconomic

  damages cap here. The Colorado Supreme Court has considered what is required for a defendant to

  waive the application of this statutory cap and these circumstances were not met here. In Giampapa

  v. Am. Family Mut. Ins. Co, the jury awarded a lump sum for damages without specifying how much

  was for economic damages, noneconomic damages, or impairment/disfigurement damages. 64 P.3d

  230, 245 (Colo. 2003). The Colorado Supreme Court found a waiver of the cap occurred because

  the defendant “did not object to the special damages instruction either before the instruction was

  delivered to the jury or after the jury read its verdict;” because it did not “ever request separate




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  instructions or ask the jury to allocate economic and non-economic damages more specifically;”

  and because it did not raise the argument in its initial appeal. See id.

           Here, in contrast, BHS specifically indicated, in the verdict forms it proposed to this Court on

  December 4, 2023, that the jury award economic, noneconomic, and physical impairment or

  disfigurement damages separately. Indeed, the verdict forms provided to the jury at the close of

  evidence contained three separate categories of damages: economic, noneconomic, and physical

  impairment and disfigurement. The purpose for this separation was to ensure the statutory cap could

  easily be applied to the damages the jury awarded. Additionally, BHS has requested the cap be

  applied post-trial in its proposed judgment and in this response. As a result, under Giampapa, BHS

  did not waive the statutory cap on noneconomic damages.

           Plaintiff’s contention that he allegedly relied on BHS’s answers and, by inference affirmative

  defenses, when presenting evidence2 at trial is simply contrary to actions of Plaintiff during trial and

  post-trial. In closing arguments, Plaintiff’s counsel asked the jury, in regard to noneconomic damages,

  to “not to give a penny more than the million dollars for this particular category,” then reiterated,

  “nothing more than a million.” Ex. A, Trial Transcript, Feb. 15, 2024, 34:14-15, 17. Plaintiff’s counsel

  then focused on permanent physical impairment damages, which are not capped, and asked the jury

  to award “30 million dollars for impairment.” Ex. A, Trial Transcript, Feb. 15, 2024, 41:1-2. As a

  result, as part of Plaintiff’s trial strategy, for other than economic damages, he requested a lopsided

  $30 million for permanent impairment and $1 million for noneconomic damages. These requests

  appear to be an attempt to avoid a substantial application of the noneconomic damages cap and are

  effectively an acknowledgement by Plaintiff that the cap applies. These actions indicate Plaintiff



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    This, too, is without support and is belied by the fact that, even if pleaded, no party could directly present evidence to
  the jury concerning post-verdict setoffs or mandatory damages caps imposed after receiving a verdict. See C.R.S. § 13-
  21-102.5(4).


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  agreed to the application of the cap by “express or implied consent.” Fed.R.Civ.P. 15(b)(2) (noting

  that, when issues not raised by the pleadings are tried by express or implied consent, “it must be

  treated in all respects as if raised in the pleadings”); see also, Bill Dreiling Motor Co. v. Shultz, 168

  Colo. 59, 63 (1969) (noting that an affirmative defense can be tried by express or implied consent,

  even if not directly raised in the pleadings).

          Further, post-trial, Plaintiff’s counsel has told media outlets, including the Denver Post, in

  the days since receiving the verdict that the noneconomic damages cap applies in this case, stating

  “[t]he cap is $600,000” (the incorrect amount) and the $15 million awarded in noneconomic

  damages in this case is “money that will just go away” as a result. See Ex. B, February 20, 2024

  Denver Post Article, p. 4. Plaintiff himself is quoted in article lamenting that this is “a biased law

  by a huge margin.” See Ex. B, p. 2. It is disingenuous at best for Plaintiff to argue to the Court that

  C.R.S. § 13-21-102.5 does not apply to the verdict because it was not affirmatively pleaded as a

  defense, while simultaneously telling the media and community at large that it does, in fact, apply

  with the effect of making $15 million “just go away.” See also Fed. R. Civ. P. 11. Notably, this

  article was published before Plaintiff’s counsel had even discussed a proposed judgment with

  BHS, let alone discussed the application of the cap.

          BHS has also always taken actions indicating it expected the cap to apply. As noted above, it

  specifically proposed a verdict form that included separate line items for economic, noneconomic,

  and permanent physical impairment damages that would allow the cap to be applied. See Giampapa,

  64 P.3d at 245 (finding a waiver of the cap where the proposed verdict form did not separate these

  categories). In closing arguments, contrary to Plaintiff’s claims, BHS did not “affirmatively ask” the

  jury to award millions of dollars in noneconomic damages. [Pl. Mot. at 1-2, 4-5, ECF 202]. In fact,

  BHS told jurors it could not quantify noneconomic damages, instead leaving it to the jurors’ collective




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   judgment whether and what to award in that category. Specifically, BHS told the jury that “I am not

   able to quantify noneconomic damages in any colorful way to you guys. That is solely for you guys

   to decide,” counsel went on to state that “I am not going to put a number in there,” and “I will not

   even make a suggestion.” Ex. A, Trial Transcript, Feb. 15, 2024, 56:11-16. Plaintiff’s suggestion of

   waiver of the damages cap through conduct at trial or argument is without merit or support.

           While the statutory cap on damages under C.R.S. § 13-21-102.5 is not an affirmative defense,

   even if it were, BHS has not waived its application because its actions supported ensuring the cap was

   applied, Plaintiff’s tried the case assuming the cap would be applied, and BHS has now raised the

   application of the cap at the appropriate time, i.e., before judgment is entered.

                                              CONCLUSION

           Because the noneconomic damages cap was not an affirmative defense that could be

   pleaded or provided and applies automatically, BHS respectfully requests the Court reduce

   Plaintiff’s noneconomic damage award to $468,010 pursuant to C.R.S. § 13-21-102.5(3)(a) before

   entry of judgment and incorporates by reference BHS’ previously filed proposed judgment with

   the reduction applied and which includes calculations of pre-judgment interest based on same.

           Dated this 26th day of February, 2024.

                                                   Respectfully submitted,


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                                                           AND


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                                                 Attorneys for BHS, Inc. a/k/a BHS, Inc. of Wyoming




                                    CERTIFICATE OF SERVICE

   I hereby certify that on this 26th day of February, 2024, a true and correct copy of BHS, INC. A/K/A
   BHS, INC. OF WYOMING’S RESPONSE TO PLAINTIFF’S MOTION AGAINST
   MODIFYING THE JUDGMENT BASED ON COLORADO’S NONECONOMIC
   DAMAGES CAP was filed with the Court and served via ECF and addressed to all active counsel
   of record on ECF’S service list.



                                                 /s/ Kelly Spicer
                                                 SIGNATURE ON FILE WITH MCCONAUGHY & SARKISSIAN, P.C.




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